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mm United States District Court 95 JUL |9 AH 8= 36
Western Distrfi(i:lt of Tennessee umng
W O-z'~' lite suingng
U.S.A. vs. J ames Long Docket No. 04-20398-01 ".D

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETR_IAL SERVICES OFFICER Stephanie K. Dentori presenting an official report upon the
conduct of Defendant Long who was placed under pretrial release supervision by the Honorable Tu M. Pham sitting
in the court at Memphis, on the 28th day of September 2004, under the following conditions:

1) Report as directed to Pretrial Services, 2) Refrain from possessing a firearm, destructive device, or other dangerous
weapons, 3) Refrain from the excessive use of alcohol, 4) R.efrain from any use or unlawful possession of a narcotic
drug or other controlled substances, 5) Submit to any method of drug testing required by Pretria| Services, 6)
Participate in a program of drug treatment if deemed advisable by Pretrial Services, and 7) Defendant must reside with
his mother at all times unless another residence is approved by Pretrial Services.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

Please see attached page.

 

ORDER OF COURT n f declare under penalty of perjury that the
` g foregoing is true and correct.

Considere£i__a ordered this

day of g , 20 g : and ordered Executed on July 13, 2005

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U.S. Pretrial Services Ot`ficer

 

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U.S. Magistrate Judge Place Mel’nphjs, TN

 

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PSS- Page 2

A violation report was submitted to U.S. District Judge Jon P. McCalla on December 29, 2005 . The violation report
alleged that the defendant had violated the following conditions ofrelease: 1) Report as directed to Pretrial Services, 2)
Refrain from the unlawful use or possession of a narcotic drug or other controlled substance, and 3) Refrain from the
excessive use of alcohol.

Since December 29, 2005, the defendant has violated the following conditions of release:

Regort as directed to Pretrial Services
Defendant Long failed to report as directed to Pretrial Services on May 24, 2005, June 8, 2005,

Refrain from the unlawful use or possession of a narcotic drug or other controlled substances

On January 3, 2005, the defendant admitted to using Cocaine on December 31, 2004. On January ll, 2005, the
defendant admitted to using Cocaine on January 9, 2005. On January ll, 2005, he was referred to drug treatment at
ACAR.

On January 13, 2005, the defendant tested positive for Cocaine. On July 5, 2005, Defendant Long tested positive for
Cocaine after he had completed the drug treatment program

Refrain from the excessive use of alcohol
On January l l, 2005, Defendant Long arrived at ACAR for his substance abuse intake and assessment while under the
influence of alcohol He tested 1.1 BAC Level when he arrived at ACAR.

On February 22, 2005, ACAR advised that the defendant continues to drink alcohol and that he suffers from withdrawal
symptoms when he attempts to quit drinking ACAR indicated that the defendant related that he has audio and visionary
hallucinations when he quit drinking for three days.

On April 5, 2005, Defendant Long reported to the Pretrial Services Ofiice and a strong odor of alcohol emanated from
the defendant Mr. Long admitted that he drank three to four beers prior to reporting to Pretrial Services on that date.

On April 7, 2005, this officer referred Defendant Long to the St. Francis Hospital for alcohol detox. The defendant
participated in alcohol detox and he was released from St. Francis on April 13, 2005.

PRAYING THAT THE COURT WILL ORDER ISSUANCE OF A WARRANT CI-IARGING THE DEFENDANT
WITH VIOLATING THE CONDITIONS OF PRETRIAL RELEASE.

BOND R_ECOMMENDATION: NONE

 

UNITED sATE DsTIIC COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20398 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

